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                          UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                    :
 In re:                                             : Chapter 7
                                                    :
 MELISSA L. CECOLINI,                               : Case No. 19-17459-mdc
                                                    :
                                Debtor.             :
                                                    :

                    RESPONSE IN OPPOSITION TO MOTION TO REDEEM

          Prudential Savings Bank (“Prudential”), by and through its counsel Obermayer Rebmann

Maxwell & Hippel LLP files this Response in Opposition to the Motion to Redeem filed by Melissa

Cecolini (the “Debtor”) and states as follows:

          1. Denied. It is specifically denied that the property in question is tangible personal

              property, and strict proof is demanded upon a hearing.

          2. Admitted.

          3. Denied. Strict proof is demanded upon a hearing.

          4. Denied. Strict proof of the ability to make payment from exempt funds is demanded

              upon a hearing.

WHEREFORE, Prudential requests the Court enter an order denying the Debtor’s Motion to

Redeem.



                                            Respectfully submitted,

Dated: February 20, 2020                    By: /s/ Michael D. Vagnoni
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